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8                                UNITED STATES DISTRICT COURT

9                              EASTERN DISTRICT OF CALIFORNIA

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11    DIANA AKKAWI, et al.                           No. 2:20-cv-01034-MCE-AC
12                      Plaintiffs,
13           v.                                      ORDER
14    KASRA SADR, et al.,
15                      Defendants.
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17          After a comprehensive review of the case docket and on the Court’s own motion,

18   the following is HEREBY ORDERED:

19          1) The Stipulation and Proposed Order filed at ECF No. 31 is DENIED with

20   prejudice for failing to comply with Local Rule 137(b).

21          2) The Amended Motion to Dismiss filed at ECF No. 174 is STRICKEN as

22   improperly filed. See Local Rule 230(a). The Motion to Dismiss at ECF No. 107 is fully

23   briefed and remains submitted before this Court. The Clerk of Court is directed to

24   reinstate and resubmit ECF No. 107. Counsel is strongly admonished for attempting to

25   amend a fully briefed motion causing an unnecessary expenditure of judicial economy.

26   Any further filings of this nature will be disregarded and/or result in sanctions upon the

27   filing counsel without further notice of this Court.

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1           3) The Motions filed at ECF Nos. 171 and 172 are SUBMITTED without

2    argument pursuant to Local Rule 230(b). Any noticed hearing dates for these motions

3    are VACATED.

4           4) The Motions filed at ECF Nos. 137 and 140 remain SUBMITTED and without

5    hearing.

6           5) The case is STAYED in its entirety and all hearings, due dates, and deadlines

7    set before Senior District Judge Morrison C. England, Jr. are VACATED. No further

8    motions will be considered by this Court until such time as orders resolving the parties’

9    currently submitted motions are filed. If necessary, the Court will issue an amended

10   pretrial scheduling order.

11          Counsel in this matter are strongly cautioned that any further failure to comply

12   with this Court’s orders and the local and federal rules of court, will result in the

13   imposition of sanctions, up to and including terminating sanctions upon no further notice

14   to the parties.

15          IT IS SO ORDERED.

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17   Dated: April 5, 2023

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